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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                       __________
                                                          Western District of __________
                                                                              Texas

     League of United Latin American Citizens, et al.                         )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.         3:21-cv-259-DCG-JES-JVB
                        Greg Abbott, et al.                                   )
                                                                              )        (If the action is pending in another district, state where:
                              Defendant                                       )              __________ District of __________                 )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Adam Foltz
        1331 Okeeffe Ave, Apt 210, Sun Prairie, WI 53590
    ✔ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
    u
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material: See Attachment A



 Place: US Attorney's Office for the Western District of Texas                          Date and Time:
           903 San Jacinto Blvd., Suite 334                                                                   03/11/2022 5:00 pm
           Austin, TX 78701

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:




        The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.

Date:         02/09/2022

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                      /s/ Jasmin Lott
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail, and telephone number of the attorney representing (name of party)     the United States
of America                                                              , who issues or requests this subpoena, are:
Jasmin Lott, U.S. Department of Justice, Civil Rights Division, Voting Section, 950 Pennsylvania Ave. NW, 4CON 8th
Floor, Washington, D.C. 20530 Email: jasmin.lott@usdoj.gov Phone: 202-307-6321
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Civil Action No. 3:21-cv-259-DCG-JES-JVB

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                   .

          u I served the subpoena by delivering a copy to the named person as follows:


                                                                                               on (date)                               ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                                     .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc:
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 AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                    (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      (1) Producing Documents or Electronically Stored Information.
attorney responsible for issuing and serving a subpoena must take                 These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                   stored information:
person subject to the subpoena. The issuing court must enforce this                  (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                  documents must produce them as they are kept in the ordinary
earnings and reasonable attorney’s fees — on a party or attorney                  course of business or must organize and label them to correspond to
who fails to comply.                                                              the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                     Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or              electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the            produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                 in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                 (C) Electronically Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                     Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                 electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                           (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or           responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                 accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14              discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                   that the information is not reasonably accessible because of undue
following rules apply:                                                            burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving              order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and            (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party’s               (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
  (3) Quashing or Modifying a Subpoena.                                           protection as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                       (i) expressly make the claim; and
quash or modify a subpoena that:                                                     (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party’s officer          revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed, or regularly transacts business in person — except that,                 (B) Information Produced. If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where            preparation material, the person making the claim may notify any
the trial is held;                                                                party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by              reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
development, or commercial information;                                           the claim is resolved.
     (ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert’s study that was not requested by a party; or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party’s officer to incur         subpoena. A nonparty’s failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
   (C) Specifying Conditions as an Alternative. In the circumstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION


  LEAGUE OF UNITED LATIN AMERICAN
  CITIZENS (LULAC), et al.,

                         Plaintiffs,
                                                            Civil Action No. 3:21-cv-259
                 v.                                         (DCG-JES-JVB)
                                                            (consolidated cases)
  GREG ABBOTT, et al.,

                         Defendants.


            ATTACHMENT A – SUBPOENA FOR DOCUMENTS AND RECORDS

       Pursuant to Rule 45 of the Federal Rules of Civil Procedure, you are commanded to

produce to the United States of America the documents and electronically stored information

described below in your possession, custody, or control.

                            DEFINITIONS AND INSTRUCTIONS

       1.      “Document” is defined to be synonymous in meaning and scope as the term

“document” is used under Rule 34 of the Federal Rules of Civil Procedure and as the phrase

“writings and recordings” is defined in Rule 1001 of the Federal Rules of Evidence and

includes, but is not limited to, any computer files, memoranda, notes, letters, emails, printouts,

instant messages, ephemeral messages (such as Slack, Signal, Snapchat, Telegram, and Wickr),

social media messages, text messages, or databases, and any handwritten, typewritten, printed,

electronically-recorded, taped, graphic, machine-readable, or other material, of whatever nature

and in whatever form, including all non-identical copies and drafts thereof, and all copies bearing

any notation or mark not found on the original.




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        2.      “Legislator” means a past or present elected member of the Texas House of

Representatives (“Texas House”) or the Texas Senate, including such member’s past or present

employees, legislative office staff, district office staff, committee staff, caucus staff, campaign

staff, interns, representatives, designees, attorneys, advisors, consultants, contractors, agents, or

other persons or entities acting or purporting to act on the member’s behalf or subject to the

member’s control or on behalf of any committee or other body of which the elected member is a

member.

        3.      “Member of the U.S. House of Representatives” means a past or present elected

member of the United States House of Representatives, including such member’s past or present

employees, legislative office staff, district office staff, committee staff, caucus staff, campaign

staff, interns, representatives, designees, attorneys, advisors, consultants, contractors, agents, or

other persons or entities acting or purporting to act on the member’s behalf or subject to the

member’s control or on behalf of any committee or other body of which the elected member is a

member.

        4.      “Redistricting” means any consideration of the alignment of district boundaries

for an entire legislative body, a single legislative district, or districts within a geographic area.

Unless otherwise specified, the term does not include consideration of the alignment of district

boundaries for the Texas Senate or the Texas State Board of Education.

        5.      “Relating to” means referring to, regarding, consisting of, concerning, pertaining

to, reflecting, evidencing, describing, constituting, mentioning, or being in any way logically or

factually connected with the matter discussed, including any connection, direct or indirect,

whatsoever with the requested topic.




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        6.        “Senate Bill 6” means the legislation setting forth the district boundaries for the

Texas delegation to the U.S. House of Representatives that Governor Greg Abbott signed into

law on October 25, 2021. See S.B. 6, 87th Leg., 3d Spec. Sess. (Tex. 2021).

        7.        “House Bill 1” means the legislation setting forth the district boundaries for the

Texas House that Governor Abbott signed into law on October 25, 2021. See H.B. 1, 87th Leg.,

3d Spec. Sess. (Tex. 2021).

        8.        In responding to these requests, please produce all responsive documents in your

possession, custody, or control. This means that you must produce all responsive documents

within your actual possession, custody, or control, as well as such documents which you have the

legal right to obtain on demand or the practical ability to obtain from a third party, including but

not limited to any and all documents that you and your counsel or other persons or entities acting

or purporting to act on your behalf have actually reviewed.

        9.        All references in these requests to an individual person include any and all past or

present employees, staff, interns, representatives, designees, attorneys, advisors, consultants,

contractors, agents, predecessors in office or position, and all other persons or entities acting or

purporting to act on the individual person’s behalf or subject to the control of such a person.

        10.       All references in these requests to an entity, governmental entity, or any other

type of organization include its past or present officers, executives, directors, employees, staff,

interns, representatives, designees, attorneys, advisors, consultants, contractors, agents, and all

other persons or entities acting or purporting to act on behalf of such an organization or subject

to its control.

        11.       In construing these document requests, apply the broadest construction, so as to

produce the most comprehensive response. Construe the terms “and” and “or” either




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disjunctively or conjunctively as necessary to bring within the scope of the request all responses

that might otherwise be construed to be outside that scope. Words used in the singular include

the plural.

        12.     Words or terms used herein have the same intent and meaning regardless of

whether the words or terms are depicted in lowercase or uppercase letters.

        13.     Documents should be produced in their entirety, without abbreviation, redaction,

or expurgation; file folders with tabs or labels identifying documents responsive to these requests

should be produced intact with the documents; and documents attached to each other should not

be separated.

        14.     Each document produced should be categorized by the number of the document

request in response to which it is produced.

        15.     No portion of a request may be left unanswered because an objection is raised to

another part of that request. If you object to any portion of a document request, you must state

with specificity the grounds of the objection. Any ground not stated will be waived.

        16.     For any document withheld from production on a claim of privilege or work

product protection, provide a written privilege log identifying each document individually and

containing all information required by Rule 45(e)(2)(A) of the Federal Rules of Civil Procedure,

including a description of the basis of the claimed privilege and all information necessary for the

United States to assess the claim of privilege.

        17.     If you contend that it would be unduly burdensome to obtain and provide all of

the documents called for in response to any document request or subsection thereof, then in

response to the appropriate request: (a) produce all such documents as are available without

undertaking what you contend to be an unduly burdensome request; (b) describe with




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particularity the efforts made by you or on your behalf to produce such documents; and (c) state

with particularity the grounds upon which you contend that additional efforts to produce such

documents would be unduly burdensome.

       18.     If any requested document or other potentially relevant document is subject to

destruction under any document retention or destruction program, the documents should be

exempted from any scheduled destruction and should not be destroyed until the conclusion of

this lawsuit or unless otherwise permitted by court order.

       19.     In the event that a responsive document has been destroyed or has passed out of

your possession, custody, or control, please provide the following information with respect to

each such document: its title, date, author(s), sender(s), recipient(s), subject matter, the

circumstances under which it has become unavailable, and, if known, its current location and

custodian.

       20.     These requests are continuing in nature. Your response must be supplemented

and any additional responsive material disclosed if responsive material becomes available after

you serve your response. You must also amend your responses to these requests if you learn that

an answer is in some material respect incomplete or incorrect.

       21.     Unless otherwise specified, all document requests concern the period of time from

January 1, 2019, to the present.




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                                   DOCUMENT REQUESTS

       1.      All documents relating to any redistricting proposal for the Texas delegation to

the U.S. House of Representatives or the Texas House, including but not limited to House Bill 1,

Senate Bill 6, and any other Congressional or House redistricting proposal drawn, discussed, or

considered. This request includes but is not limited to:

               a. the origination(s) or source(s) of any such redistricting proposal;

               b. the impetus, rationale, background, or motivation for any such redistricting

                   proposal;

               c. all drafts in the development or revision of any such redistricting proposal,

                   including but not limited to shapefiles, files or datasets used in mapping

                   software, each RED report, each PAR report, demographic data (including but

                   not limited to Citizen Voting Age Population, Hispanic Citizen Voting Age

                   Population, Black Citizen Voting Age Population, Voting Age Population,

                   Hispanic Voting Age Population, and Black Voting Age Population), election

                   data (including but not limited to reconstituted election analyses), and files

                   related to precinct names, precinct lines, split precincts, partisan indexes,

                   population shifts, population deviations, voter registration, Spanish Surname

                   Voter Registration, voter affiliation, Spanish Surname Voter Turnout, or

                   changing census geography;

               d. the pairing of any incumbents in any such redistricting proposal;

               e. any redistricting amendment, whether partial or total, to each such proposal;

               f. negotiations regarding any redistricting proposal; and




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               g. all calculations, reports, audits, estimates, projections, or other analyses, from

                   any source, relating to the effect or impact, of any kind—including on (1)

                   Texas minority voters, (2) existing or emerging minority opportunity districts,

                   or (3) voter turnout (including Spanish Surname Voter Turnout)—that could

                   result from the implementation of any such redistricting proposal.

       2.      All documents relating to the redistricting process for the Texas House or the

Texas delegation to the U.S. House of Representatives, including but not limited to planning,

timing, hearings, outreach, publicity, public or expert participation, deadlines, limitations,

staffing, and persons or entities involved.

       3.      All documents relating to voting patterns in Texas elections with respect to race,

ethnicity, or language minority status, including but not limited to any calculations, reports,

audits, estimates, projections, or other analyses.

       4.      All documents relating to whether House Bill 1, Senate Bill 6, or any other

redistricting proposal drawn, discussed, or considered with respect to the Texas House or the

Texas delegation to the U.S. House of Representatives complies with the Voting Rights Act,

including but not limited to any calculations, reports, audits, estimates, projections, or other

analyses.

       5.      All documents relating to redistricting for the Texas House or the Texas

delegation to the U.S. House of Representatives exchanged between, among, with, or within the

Office of the Governor, the Office of the Lieutenant Governor, the Office of the Secretary of

State, the Office of the Attorney General, any legislator, the House Committee on Redistricting

or members thereof, the Senate Special Committee on Redistricting or members thereof, the

Conference Committee regarding Senate Bill 6 or members thereof, the Texas Legislative




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Council, any member of the U.S. House of Representatives, any candidate to represent Texas in

the U.S. House of Representatives, any candidate for the Texas House, any campaign to

represent Texas in the U.S. House of Representatives, any campaign for the Texas House, any

national political party, any state political party organization, any local political party

organization, any national congressional campaign committee, any national organization

dedicated to supporting state legislative candidates, the National Republican Redistricting Trust,

the National Democratic Redistricting Committee, any political action committee, any lobbyist,

any political activist or operative, any other governmental entity, any local elected official in

Texas, any consultant, any expert, any law firm or attorney, any vendor, any other political or

community group or organization, or any member of the public.

       6.      All other documents relating to redistricting for the Texas House or the Texas

delegation to the U.S. House of Representatives from July 1, 2021, to the present, including but

not limited to redistricting criteria, public statements, correspondence, calendar invitations,

scheduling emails, meeting minutes, agendas, attendance sheets, call logs, notes, presentations,

studies, advocacy, letters, or other communications.

       7.      All documents relating to enumerations or estimates by the U.S. Census Bureau or

Texas Demographic Center related to population changes, race, ethnicity, language minority

status, or United States citizenship that were exchanged between, among, with, or within the

Office of the Governor, the Office of the Lieutenant Governor, the Office of the Secretary of

State, the Office of the Attorney General, any legislator, the House Committee on Redistricting

or members thereof, the Senate Special Committee on Redistricting or members thereof, the

Conference Committee regarding Senate Bill 6 or members thereof, the Texas Legislative

Council, any member of the U.S. House of Representatives, any candidate for the Texas House,




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any candidate to represent Texas in the U.S. House of Representatives, any campaign for the

Texas House, any campaign to represent Texas in the U.S. House of Representatives, any

national political party, any state political party organization, any local political party

organization, any national congressional campaign committee, any national organization

dedicated to supporting state legislative candidates, the National Republican Redistricting Trust,

the National Democratic Redistricting Committee, any political action committee, any lobbyist,

any political activist or operative, any other governmental entity, any consultant, any expert, any

law firm or attorney, any vendor, any group or organization, or any member of the public.

       8.      All documents relating to payment for services; agreements of representation,

consultation, employment, services, confidentiality, or common interest; or any other type of

contract relating to redistricting for the Texas House or Texas delegation to the U.S. House of

Representatives that include any of the following individuals or entities: Adam Foltz, Akin

Gump Strauss Hauer & Feld LLP, Michael Best Strategies, any consultant, any political

operative, any expert, the Office of the Texas Attorney General, any other law firm, any other

attorney, any other vendor, or any other person or entity.

       9.      All non-privileged documents relating to the instant lawsuit or preceding

investigation of Texas by the U.S. Department of Justice.




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